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                                   2                                   UNITED STATES DISTRICT COURT

                                   3                                  NORTHERN DISTRICT OF CALIFORNIA

                                   4

                                   5     FACEBOOK, INC., et al.,                            Case No. 19-cv-07071-SVK
                                                        Plaintiffs,                         ORDER REASSIGNING CASE
                                   6
                                                 v.
                                   7

                                   8     ONLINENIC INC, et al.,
                                                        Defendants.
                                   9

                                  10

                                  11          IT IS ORDERED that this case has been reassigned using a proportionate, random and

                                  12   blind system pursuant to General Order No. 44 to the Honorable Susan Illston in the SAN
Northern District of California
 United States District Court




                                  13   FRANCISCO division for all further proceedings. Counsel are instructed that all future filings

                                  14   shall bear the initials SI immediately after the case number.

                                  15          All hearing and trial dates presently scheduled are vacated. However, existing briefing

                                  16   schedules for motions remain unchanged. Motions must be renoticed for hearing before the judge

                                  17   to whom the case has been reassigned, but the renoticing of the hearing does not affect the prior

                                  18   briefing schedule. Other deadlines such as those for ADR compliance and discovery cutoff also

                                  19   remain unchanged.

                                  20   Dated: September 28, 2021

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                                  22
                                                                                        Susan Y. Soong
                                  23                                                    Clerk, United States District Court
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                                  26   A true and correct copy of this order has been served by mail upon any pro se parties.
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